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Introduction
Notice to Students

This website contains a concise review of the rules and procedures of Harvard
College with which students are expected to be familiar. Included are the
specific requirements for the AB and SB degrees. Specific requirements for
each of the fields of concentration and secondary fields can be found under the
Fields of Concentration and Secondary Fields headings. Included here is
information on a number of the services, programs, and organizations that have
been created to bring assistance and enrichment to a student’s undergraduate
experience. Throughout this website, “the Registrar” refers to the Office of the
Registrar of the Faculty of Arts and Sciences.

Harvard University makes all decisions concerning applicants, students, faculty,
and staff on the basis of the individual’s qualifications to contribute to Harvard’s
educational objectives and institutional needs. Discriminating against individuals
on the basis of race, color, sex, sexual orientation, gender identity, religion, age,
national or ethnic origin, political beliefs, veteran status, or disability unrelated to
job or course requirements is inconsistent with the purposes of a university and
with the law. Harvard expects that those with whom it deals will comply with all
applicable antidiscrimination laws.

In June of 2011, the completion or graduation rate for students who entered
Harvard College as freshmen in September 2005 was 97 percent.

Review of academic, financial, and other considerations leads to changes in the
policies, rules, and regulations applicable to students. The Faculty of Arts and
Sciences therefore reserves the right to make changes at any time. These
changes may affect such matters as tuition and all other fees, courses, degrees
and programs offered (including the modification or possible elimination of
degrees and programs), degree and other academic requirements, academic
policies, rules pertaining to student conduct and discipline, fields or areas of
concentration, and other rules and regulations applicable to students.

While every effort has been made to ensure that this book is accurate and up to
date, it may include typographical or other errors. Changes are periodically
made to this publication and will be incorporated in new editions.

Michael Burke, Registrar
Noël Bisson, Associate Dean of Undergraduate Education
John (Jay) Ellison, Associate Dean of Harvard College
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Life in the Harvard Community
Housing Policies and Deadlines

Housing Policy

Those Who Will Ordinarily Be Housed

Those Who Will Be Housed on a Space­Available Basis Only

Housing Contract

Summer Occupancy of the Houses

Occupancy of the Dorms and Houses between Fall and Spring Terms


Housing Policy

All freshmen are required to live on campus. Most upperclass students also live
in College housing; those who choose to live elsewhere must submit the
Housing Contract Cancellation form.

All students living in College dormitories and Houses are required to purchase
full­board contracts and be familiar with the undergraduate housing license
contract. Below is information about applying for and canceling housing:

1. At the beginning of their residence in the College, all students are required to
sign a Housing Contract. This contract remains binding for all the terms a
student is in residence, and is cancelled by graduation or by the submission of a
Housing Contract Cancellation form. It is renewed by the timely submission of a
Returning Student Housing Application.

2. Students who are on a leave of absence or required to withdraw and intend
to return to College Houses must notify the Office of Student Life of their
intention to return by filing a Returning Student Housing Application (which can
be obtained at www.osl.fas.harvard.edu) by the dates given below. A student
who has filed an application to return to residential housing for one term and
subsequently decides to return for the following term must submit a new
Housing Contract Cancellation Form and a new Returning Student Housing
Application.
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historical and/or comparative context.

In general, students should plan to take one General Education course per term.
There are, however, no constraints regarding the timing of the requirements as
long as all are completed by graduation. First­year students often find that
General Education courses are useful for exploring potential concentrations.
Other students use the General Education requirements to add some variety to
their course of study.

Switching from the Core Requirement to the General Education Requirement

Students who entered Harvard College in September 2008 or earlier are
expected to fulfill the requirements of the Core Curriculum, but will be permitted
to switch to the Program in General Education if such a change is possible and
advisable given their overall schedule and plan of study. Interested students
should discuss their situation with their Resident Dean, who must approve any
change of requirements. Students must complete the process and submit
signed paperwork to the Registrar’s Office by the fifth Monday of their final term
in residence.

To switch to General Education, students must access the online Plan of Study
Tool, which can be found on the Registrar's website at:
http://www.registrar.fas.harvard.edu/fasro/ugrad/plan_of_study.jsp. A brief
tutorial explaining how to complete the tool can be found at the bottom of that
webpage. Additional information can be found in the “Policy” section of the
General Education website (www.generaleducation.fas.harvard.edu).

Program in General Education Policies

Statement of Principles

In all cases, these policies are designed to provide students with flexibility to
pursue a variety of educational opportunities. In general, General Education
requirements will be proportional to the number of terms a student spends in
residence at Harvard. Students may not reduce their requirements by more than
one category in specified clusters, thus maintaining breadth in their overall
program. The Program in General Education has the right to approve or deny
requests for exceptions.

Minimum General Education Requirement

In all cases, students must complete a minimum of four half­courses in General
Education through regular coursework at Harvard College, one of which must
engage substantially with the study of the past.
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Academic Information
Leaves of Absence

Voluntary Leaves of Absence (Granted by Petition)

    Use of College Services and Facilities
    Corse Work Done Out of Residence
    Returning to College

Involuntary Leaves of Absence


Voluntary Leaves of Absence (Granted by Petition)

Students who wish to interrupt their studies at any time before graduation must
petition the Administrative Board for a leave of absence. Petition forms are
available from, and must be submitted to, the Resident Dean.

Students whose previous academic and disciplinary record is satisfactory and
who have petitioned by the seventh Monday of the term will normally be granted
a “leave of absence.” Students who petition after the seventh Monday of the
term will normally be granted a “leave of absence—late in the term.” Students
who are not in good standing may be granted a “leave of absence—on
probation.” Students who petition for a leave of absence after the Thanksgiving
holiday in the fall term or after April 15 in the spring term ordinarily will not be
allowed to register in the next academic term. No petitions for a leave of
absence for any term will ordinarily be considered after the first day of Reading
Period for that term.

A student who is granted a leave of absence during the academic year is
charged tuition, room rent, the Student Services Fee, and board to the end of
the period in which he or she leaves, as indicated on the chart Students’
Financial Obligations in the Event of a Leave of Absence or Requirement to
Withdraw and in Housing Policy.

Students who have signed a room contract to live in College housing and
subsequently decide to take a leave of absence must notify the Office of
Student Life, University Hall, Ground Floor North, in writing of their intention not
to take up residence. The purpose of this policy is to enable Houses to make
unoccupied rooms available to other students as early as possible (for
deadlines, see Housing Policy).
